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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

    WILDEARTH GUARDIANS; and
    PHYSICIANS FOR SOCIAL
    RESPONSIBILITY,

                          Plaintiffs,

    v.

    DEBRA HAALAND, Secretary, U.S.                 No. 1:21-cv-00175-RC
    Department of the Interior; and U.S.
    BUREAU OF LAND MANAGEMENT,

                          Defendants,

    AMERICAN PETROLEUM INSTITUTE;
    STATE OF WYOMING, NAH UTAH LLC,
    and ANSCHUTZ EXPLORATION
    CORPORATION,

                          Intervenor-Defendants.



                 INTERVENOR-DEFENDANT AMERICAN PETROLEUM INSTITUTE’S
                  RESPONSE TO PLAINTIFFS’ MOTIONS FOR AN EXTENSION

         Pending before the Court are three lawsuits brought by plaintiffs WildEarth Guardians et

al., which collectively challenge as purportedly violating the National Environmental Policy Act

(“NEPA”), 42 U.S.C. §§ 4321, et seq., and the Administrative Procedure Act (“APA”), 5 U.S.C.

§ 551, decisions by the U.S. Secretary of the Interior and the Bureau of Land Management to

conduct more than three dozen oil and gas lease sales pursuant to the Mineral Leasing Act

(“MLA”), 30 U.S.C. § 181.1 Intervening defendant American Petroleum Institute (“API”) has



1
  WildEarth Guardians v. Haaland, No. 1:16-cv-01724 (the “2016 WildEarth Guardians
lawsuit”); WildEarth Guardians v. Haaland, No. 1:20-cv-056 (the “2020 WildEarth Guardians
lawsuit”); WildEarth Guardians v. Haaland, No. 1:21-cv-00175 (the “2021 WildEarth Guardians
lawsuit”).


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filed motions in all three lawsuits seeking the dismissal of the vast majority of these lease sale

challenges.2 In all three lawsuits, API asserts that these claims are barred by the MLA statute of

limitations, which provides that “[n]o action contesting a decision of the Secretary involving any

oil and gas lease shall be maintained unless such action is commenced or taken within ninety days

after the final decision of the Secretary relating to such matter.” 30 U.S.C. § 226-2. Congress in

the 1960 MLA amendments adopted this statutory provision to reverse “a potentially dangerous

slackening in exploration for development of domestic reserves of oil and gas” by “remov[ing]

certain legislative obstacles to exploration for development of the mineral resources of the public

lands and spur greater activity for increasing our domestic reserves.” Id. at 3314–15. Congress

concluded that “[s]uch a provision will remove a potential cloud on acreage subject to leasing.”

Id. at 3317.

       Plaintiffs seek a 28-day extension to respond to API’s motions to dismiss in the 2016

WildEarth Guardians lawsuit and the 2020 WildEarth Guardians lawsuit. But given that the

statute of limitations issue has been fully briefed by all parties in the 2021 WEG lawsuit, and the

statute of limitations arguments advanced in the 2016 and 2020 WEG lawsuits are substantively

identical to those advanced in the 2021 WEG lawsuit, a seven-day extension of the current August

16, 2021 deadline would be sufficient.




2
  Intervenor-Defendant American Petroleum Institute’s Motion To Dismiss in WildEarth
Guardians v. Haaland, No. 1:16-cv-01724, Docket No. 201 (Aug. 2, 2021); Intervenor-Defendant
American Petroleum Institute’s Motion To Dismiss in Part in WildEarth Guardians v. Haaland,
No. 1:20-cv-056, Docket No. 55 (Aug. 2, 2021); Intervenor-Defendant American Petroleum
Institute’s Motion To Dismiss In Part, Or, In The Alternative, For Partial Summary Judgment in
WildEarth Guardians v. Haaland, No. 1:21-cv-00175, Docket No. 28 (June 9, 2021).

                                                2
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       The Government has filed motions voluntarily to remand (without vacatur) in all three

lawsuits,3 and plaintiffs’ request for a 28-day extension also points to its purported need for

additional time to respond to these motions as well, responses that are otherwise due today. But

Plaintiffs focus principally on their hope to reach a settlement agreement with the Government on

that matter, rather than any actual need for time to respond to the remand motions. And, for the

reasons detailed in API’s responses to those motions to remand, filed earlier today,4 the Court

should first resolve API’s motions to dismiss, and then entertain remand only with respect to those

lease sale challenges the Court determines should not be dismissed. Only in that fashion can the

purpose for which Congress adopted the relatively short 90-day limitations period be vindicated.

That result should adhere regardless of whether the Government unilaterally seeks to remand, or

enters into an agreement with Plaintiffs for such a remand. Cf. Am. Waterways Operators v.

Wheeler, 427 F. Supp. 3d 95 (D.D.C. 2019); Am. Waterways Operators v. Wheeler, 507 F. Supp.

3d 47, 53, 56 (D.D.C. 2020) (denying remand agreed to by plaintiffs and the Government, given

the objections to remand voiced by the intervenors).




3
  See Federal Defendants’ Second Motion For Voluntary Remand Without Vacatur and
Memorandum In Support in the 2016 WildEarth Guardians lawsuit, Docket No. 200; Federal
Defendants’ Second Motion For Voluntary Remand Without Vacatur and Memorandum In
Support in the 2020 WildEarth Guardians lawsuit, Docket No. 54; Federal Defendants’ Motion
For Voluntary Remand Without Vacatur and Memorandum In Support in the 2021 WildEarth
Guardians lawsuit, Docket No. 43.
4
 See Response of Intervenor-Defendants American Petroleum Institute, Western Energy Alliance
And State Of Utah To Defendants’ Motion For Voluntary Remand in the 2016 WildEarth
Guardians lawsuit, Docket No. 205 (Aug. 13, 2021); Response of Intervenor-Defendants
American Petroleum Institute And Western Energy Alliance To Defendants’ Motion For
Voluntary Remand in the 2020 WildEarth Guardians lawsuit, Docket No. 58 (Aug. 13, 2021); and
Intervenor-Defendant American Petroleum Institute’s Response To Defendants’ Motion For
Voluntary Remand in the 2021 WildEarth Guardians lawsuit, Docket No. 52 (Aug. 13, 2021).

                                                3
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       Accordingly, there is no basis for a more than a seven day extension for plaintiffs to

respond to the Government’s motions to remand.5

                                               Respectfully submitted,

August 13, 2021
                                               /s/ Steven J. Rosenbaum
                                               Steven J. Rosenbaum
                                                 D.C. Bar No. 331728
                                               Bradley K. Ervin
                                                 D.C. Bar No. 982559
                                               COVINGTON & BURLING, LLP
                                               One CityCenter
                                               850 Tenth St., N.W.
                                               Washington, D.C. 20001
                                               Phone: (202) 662-6000
                                               Fax: (202) 662-6291
                                               srosenbaum@cov.com

                                               Attorneys for American Petroleum Institute




5
  Plaintiffs’ contingent motions misstate in footnote 2 their prior discussions with the other parties
regarding an extension. When they first broached that subject last week, it was entirely in the
context of seeking additional time for briefing, and they only sought a seven-day extension -- not
a 28 day extension -- for their responses to API’s motions to dismiss in the 2016 and 2020 WEG
lawsuits. Moreover, although plaintiffs had in discussions stated an intention to file their extension
motion by August 6, 2021, they did not do so, and instead (a) filed motions earlier this week
seeking to stay the lawsuits in their entirety, based upon their settlement discussions with the
Government, and (b) have now sought extensions of a different length of time, and for different
purposes, than they had broached with the other parties last week.

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                               CERTIFICATE OF SERVICE

       I hereby certify that on this 13th day of August, 2021, I caused a true and correct copy of

the foregoing to be filed with the Court electronically and served by the Court’s CM/ECF System

upon the listed counsel:


 Samantha Ruscavage-Barz                            Michael Sawyer
 Daniel L. Timmons                                  Michelle-Ann Williams
 WildEarth Guardians                                U.S. Department of Justice
 301 N. Guadeloupe Street, Suite 201                Environment & Natural Resources Division
 Santa Fe, NM 87501                                 P.O. Box 7611
 Tel: (505) 410-4180                                Washington, D.C. 20044
 sruscavagebarz@wildearthguardians.org              Tel: (202) 514-5273
 dtimmons@wildearthguardians.org                    michael.sawyer@usdoj.gov
                                                    michelle-ann.williams@usdoj.goc
 Kyle Tisdel
 Western Environmental Law Center                   Counsel for Federal Defendants
 208 Paseo del Pueblo Sur, Suite 602
 Taos, NM 87571                                     Matt VanWormer
 Tel: (575) 613-8050                                Kelly Shaw
 tisdel@westernlaw.org                              Wyoming Attorney General’s Office
                                                    109 State Capitol
 Counsel for Plaintiffs                             Cheyenne, WY 82002
                                                    Tel: (307) 777-7895
                                                    matt.vanwormer@wyo.gov
                                                    kelly.shaw@wyo.gov

                                                    Counsel for Intervenor State of Wyoming

                                                    Emily C. Schilling
                                                    Holland & Hart LLP
                                                    222 South Main, Suite 2200
                                                    Salt Lake City, UT 84101
                                                    Tel: (801) 799-5753
                                                    eschilling@hollandhart.com

                                                    Counsel for Intervenor NAH Utah, LLC

                                                    Andrew C. Lillie
                                                    Hogan Lovells US LLP
                                                    1601 Wewatta Street, Suite 900
                                                    Denver, CO 80202
                                                    Tel: (303) 899-7339

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                                 andrew.lillie@hoganlovells.com

                                 Counsel for Intervenor Anschutz Exploration
                                 Corporation


                                   /s/ Steven J. Rosenbaum
                                   Steven J. Rosenbaum




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